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                                                    March 27th, 2025.


Honorable John G Koeltl
Daniel Patrick Moynihan
United States Court House,
Courtroom 14A
500 Pearl Street
New York, NY 10007-1312
Dear Judge Koeltl

       Good afternoon Judge Koeltl. I am writing to you today to inform
the court of the results of my recovery in the Celsius bankruptcy and
the impact that has made on my personal finances. I am one creditor
in the convenience class–people whose claims totaled $5,000 or less–
and although I did not represent a large dollar claim in this Chapter 11
reorganization, it is very important to explain my recovery in detail as it
will also give you, your honor, a good idea of the recovery of the other
522,709 creditors in my class. All these creditors have received over
100% of the dollar amount of their respective claims if they kept their
coins. This is based on today’s prices.

      I knew Alex personally as I was a Celsius community
ambassador. I always thought Alex Mashinsky was a man of great
character with the desire to bring financial independence to people.
Judge Koeltl, throughout many years watching his live AMAs, I was
able to confirm that Alex was a genuine entrepreneur. If Alex will be
sentenced to go to prison for many years based on damages to people,
please note that I can confirm I suffered no damages and numbers
show that all other creditors in the convenience class experienced the
same outcome as me.




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     On July 13th, 2022, the day Celsius Network filed for bankruptcy,
my claim was $2,370.60




     Based on today's prices, my recovery is worth approximately
$2,374 which is over 100% of my claim.
      Judge, I politely request that we consider these recoveries when your
Honor decides on Alex’s sentencing. I believe that Mr. Mashinsky is an
important member of our society. By allowing Alex to continue to live in
freedom and liberty, many other lives will be positively impacted. Let’s not
forget that Alex has a patent for the creation of VOIP; a technology that
allows billions of people to communicate with each other in an affordable
way.

      For whatever mistakes Alex has made he has shown sincere remorse
and has voluntarily agreed to forfeit all his assets and claims derived from
Celsius and CEL tokens. He proved again that he is willing to do more for
the community than all the lawyers, accountants, employees or creditors who
just want to find more ways to take things away from us.




                                        Bobby Darby
                                        Celsius Creditor.
                                                       USA



                                                                       Ex. A-40
